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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



 M.B. COTTINGHAM,
  2335 25th Street SE
  Washington, D.C. 20020,
                                                     No. _________________
                               Plaintiff,
             v.
                                                     JURY TRIAL DEMANDED
 SEAN LOJACONO,
  c/o Office of the Attorney General
  441 4th Street NW
  Washington, D.C. 20001,

                               Defendant.


                                COMPLAINT FOR DAMAGES
                                (Unreasonable Search and Seizure)

                                       INTRODUCTION

       In this civil rights action, M.B. Cottingham, a lifelong D.C. resident, asserts his basic

constitutional right to socialize on the streets of his own city without being subjected to public

invasions of his privacy and bodily integrity.

       Late in the afternoon of September 27, 2017, in a peaceful encounter with D.C. police

concerning an open container of alcohol, Mr. Cottingham gave Officer Sean Lojacono permission

to frisk him. Ranging far beyond what should have been a limited pat-down for weapons, Officer

Lojacono jammed his fingers between Mr. Cottingham’s buttocks and grabbed his genitals. Mr.

Cottingham physically flinched and verbally protested, making clear that this highly intrusive

search was not within the scope of the frisk to which he had consented. Officer Lojacono responded

by handcuffing Mr. Cottingham and returning to probe the most sensitive areas of his person —

two more times.


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        No warrant, probable cause, reasonable suspicion, or consent justified the scope of these

probes, which were conducted in broad daylight in public and with no other discernible reason

than to humiliate and degrade Mr. Cottingham and to display the officer’s power over him. The

escalation of a low-level stop into a public body-cavity search was an affront to Mr. Cottingham’s

dignity as well as his constitutional rights.

                                  JURISDICTION AND VENUE

    1. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331

        because Plaintiff’s claim arises under the Fourth Amendment to the United States

        Constitution.

    2. Venue in this Court is proper pursuant to 28 U.S.C. § 1391(b)(2) because the events

        giving rise to this claim occurred in the District of Columbia.

                                                PARTIES

    3. Plaintiff M.B. Cottingham is an adult resident of the District of Columbia.

    4. Defendant Sean Lojacono (Badge No. 10035) is a sworn officer of the D.C. Metropolitan

        Police Department. At the time of the events at issue, he was acting within the scope of

        his employment and under color of law of the District of Columbia. He is sued in his

        individual capacity.

                                                FACTS

    5. M.B. Cottingham is a 39-year-old African-American man who has lived in Southeast

        D.C. his entire life. For the past nine years, he has worked as an ice-cream vendor, selling

        frozen treats out of a truck.

    6. He also has worked as an entertainer, using the stage name “Moe Fargo.”




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7. Mr. Cottingham has three children — an 18-year-old son, a 7-year-old daughter, and a 4-

   year-old daughter.

8. On September 27, 2017, in the late afternoon, Mr. Cottingham and several friends were

   sitting on folding chairs along a public sidewalk near the intersection of Atlantic and First

   Streets SW.

9. The men were celebrating Mr. Cottingham’s birthday and discussing where to go that

   evening.

10. They had just opened a bottle of alcohol, which was sitting on the ground next to the curb

   where a car was parked.

11. Suddenly, one marked and one unmarked police car pulled up along Atlantic Street and

   stopped in front of the men.

12. Several officers, including Officer Lojacono, got out of the cars and asked the men if they

   had any guns. They responded that they did not.

13. It is not clear from the circumstances what legitimate law enforcement purpose the

   officers could have had in stopping their cars and confronting this group of African-

   American men. The bottle of alcohol could not have been seen from the middle of the

   street because it was on the ground at the curb behind a parked car. None of the men was

   armed.

14. Mr. Cottingham picked up the bottle of alcohol and asked if the officers wanted him to

   pour it out.

15. One of the officers responded that he did not.

16. Officer Lojacono asked Mr. Cottingham what he had in his sock.




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17. Mr. Cottingham pulled out from his sock a small, clear bag containing less than an eighth

   of an ounce of marijuana — a quantity that a person may legally possess under District

   law — and placed it on the hood of a nearby car.

18. As an African-American man in the District, Mr. Cottingham has been stopped by police

   many times in his life. He has been frisked in an aggressive manner several times, and

   beaten by police on a couple of occasions.

19. Based on Mr. Cottingham’s experience, he sensed that Officer Lojacono, who is white,

   was about to pat him down.

20. Seeking to avoid a confrontation, Mr. Cottingham asked Officer Lojacono: “Do you need

   me to do the hokey-pokey?”

21. The “hokey-pokey” is street slang for turning oneself around while lifting one’s shirt for

   the purpose of demonstrating to a police officer that one is unarmed. Cf. U.S. Dep’t of

   Health & Human Servs., Nat’l Inst. of Envtl. Health Sciences, “Kids Environment Kids

   Health: Hokey Pokey” (“You do the Hokey-Pokey, and you turn yourself around.”), at

   https://kids.niehs.nih.gov/games/songs/childrens/hokey-pokey/index.htm.

22. Officer Lojacono responded affirmatively to Mr. Cottingham’s question.

23. Based on his experience of having been frisked many times by officers, Mr. Cottingham

   faced away from Officer Lojacono, raised his arms, and spread his legs. Mr. Cottingham

   was wearing sweatpants at the time.

24. Officer Lojacono did not begin by patting down Mr. Cottingham’s torso or legs.

25. Instead, Officer Lojacono reached immediately between Mr. Cottingham’s legs, grabbed

   his scrotum, felt around with his hand, and stuck his thumb in Mr. Cottingham’s anus.




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26. Several officers and all of Mr. Cottingham’s friends looked on as the search proceeded in

   public, between the curb and the sidewalk of Atlantic Street.

27. Mr. Cottingham was deeply uncomfortable with and humiliated by Officer Lojacono’s

   probing, which continued for several seconds in the area between his buttocks and on and

   around his scrotum.

28. Mr. Cottingham had no weapon or anything else in that area that could have been

   mistaken for a weapon.

29. After approximately three seconds of Officer Lojacono’s search, Mr. Cottingham

   protested, exclaiming to his friends, “He grabbin’ my shit!”

30. With Officer Lojacono’s finger in his anus, Mr. Cottingham then flinched and turned part

   of the way back around toward Officer Lojacono, protesting, “Come on, man! Come on,

   man! Hold! You stuck a finger in my ass!”

31. One of Mr. Cottingham’s friends stated several times to Officer Lojacono, “He don’t got

   nothin’ on him.”

32. Agreeing, Mr. Cottingham said, “Yeah. Don’t do that!”

33. Mr. Cottingham, distressed, repeated to his friend, “He stuck his finger in my crack,

   man!”

34. Mr. Cottingham again said to the officer, “Don’t do that.”

35. Officer Lojacono responded to Mr. Cottingham’s protests by handcuffing him with his

   hands behind his back.

36. Mr. Cottingham continued to protest his treatment, reiterating what Officer Lojacono had

   done and stating that he didn’t have anything on him.

37. Officer Lojacono responded: “Do me a favor. Spread your legs.”



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38. Mr. Cottingham, handcuffed and still trying to be polite and trying to avoid escalating the

   encounter, replied, “No problem,” and complied.

39. Mr. Cottingham was obeying what he understood to be Officer Lojacono’s command,

   and was not voluntarily consenting to further probing between his legs or buttocks.

40. Even though Officer Lojacono had already stuck his fingers between Mr. Cottingham’s

   legs and buttocks and probed for several seconds, Officer Lojacono resumed searching in

   the same area in the manner as before, this time for six seconds and with Mr. Cottingham

   in handcuffs.

41. Although Mr. Cottingham was able to remain still for a few seconds, the repeated

   intrusion in his anus caused Mr. Cottingham to flinch again, and he cried out: “Come on

   man! Stop fingerin’ me, though, bruh!”

42. Officer Lojacono instructed him: “Stop moving!”

43. Mr. Cottingham responded: “You fingerin’ my ass, man!”

44. Officer Lojacono and Mr. Cottingham continued to argue over the propriety of the cavity

   search.

45. As they did so, Officer Lojacono stuck his hand between Mr. Cottingham’s buttocks for a

   third time for an additional two seconds.

46. Mr. Cottingham protested: “Don’t sit here and finger my ass like that, like I’m not a

   man.”

47. Officer Lojacono then felt the insides of Mr. Cottingham’s legs and across the front of his

   pants and the outsides of his pockets.

48. As he did so, Officer Lojacono continued to argue with Mr. Cottingham about whether

   the search was proper.



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49. Officer Lojacono asked, “Did I ever say you weren’t a man?”

50. Mr. Cottingham responded: “You treatin’ me like it, though, bruh!”

51. Finally, Officer Lojacono removed the handcuffs, while another officer poured out the

   open bottle of alcohol.

52. Officer Lojacono did not find any weapons or contraband.

53. The police did not cite Mr. Cottingham or any of his friends for the open container of

   alcohol.

54. The police officers returned to their cars and drove off.

55. As Officer Lojacono drove away in the marked police vehicle, he seemed to taunt Mr.

   Cottingham and his friends, yelling through the marked car’s loudspeaker, “How y’all

   doing world star? How y’all doing world star? (inaudible) free the workforce!”

56. One of Mr. Cottingham’s friends captured much of the incident on video via his

   cellphone. As of the filing of this complaint, that video is available here:

   https://www.youtube.com/watch?v=zXILS80IyyU

57. Mr. Cottingham understood that the term “world star” was a reference to the video.

58. At a D.C. Council hearing on June 12, 2018, Chief of Police Peter Newsham

   acknowledged that he had seen the video of the encounter. He stated, “It looked like it

   was an inappropriate touching by the officer.” He also stated that the officer had been

   disciplined but is still on active duty with the D.C. Metropolitan Police Department.

59. The encounter with Officer Lojacono left Mr. Cottingham deeply disturbed and shaken.

60. The experience itself was humiliating — the most private areas of Mr. Cottingham’s

   person were invaded three times by a police officer, including twice while Mr.




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   Cottingham’s hands were cuffed behind him, all in public in front of other officers and

   Mr. Cottingham’s friends.

61. Mr. Cottingham continues to suffer emotional distress following the incident, including

   anxiety and depression, and the feeling that he has been stripped of his dignity.

62. Mr. Cottingham feels increased anxiety around police officers, whom he regularly

   encounters in his neighborhood.

63. For one to two weeks after the encounter with Officer Lojacono, Mr. Cottingham felt

   discomfort in his rear end and was physically uncomfortable sitting down for extended

   periods of time. He also experienced some discomfort during bowel movements.

64. For weeks following the encounter, Mr. Cottingham did not want to go out in public, and

   he wanted to be alone. He also felt angry and sometimes lashed out at family members

   and people close to him.

65. Mr. Cottingham’s son laughed at him when he learned of the incident. Mr. Cottingham’s

   daughters asked him why the police were messing with him.

66. Because of the trauma of the searches by Officer Lojacono, Mr. Cottingham did not work

   his ice cream truck for approximately one month, resulting in lost income. He tried to go

   out and work one or two days that first month but was too uncomfortable. He finally

   returned to working the truck after a month because he needed the income.

67. Because of the trauma of the searches by Officer Lojacono, Mr. Cottingham has stopped

   working as an entertainer. He had one entertaining gig scheduled in early October 2017 at

   which he did not perform, resulting in lost income. Mr. Cottingham has not sought out

   other entertaining jobs or performed at all in public; as a result, he has lost income.




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                                     CLAIM FOR RELIEF

                   Violation of Fourth Amendment Rights / 42 U.S.C. § 1983

   68. Plaintiff has a constitutionally protected right under the Fourth Amendment to the United

       States Constitution to be free from unreasonable searches and seizures by government

       officers.

   69. Defendant Lojacono’s actions, under color of law, in repeatedly jamming one or more

       fingers into Mr. Cottingham’s anal cavity and grabbing his genitalia, all on a public street

       and without a warrant, probable cause, reasonable suspicion, or consent to the scope of

       this intrusion, violated Mr. Cottingham’s rights under the Fourth Amendment.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court:

   a) RULE that the actions of Defendant Lojacono violated Plaintiff Cottingham’s rights

       under the Fourth Amendment to the United States Constitution;

   b) ENTER JUDGMENT awarding Plaintiff Cottingham compensatory and punitive

       damages in an amount commensurate with the proof adduced at trial;

   c) AWARD Plaintiff Cottingham costs and reasonable attorneys’ fees in this action; and

   d) GRANT Plaintiff Cottingham such other and further relief as this Court may deem just

       and proper.

                                       JURY DEMAND

Plaintiff demands a trial by jury.




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                                 Respectfully submitted,

                                 /s/ Scott Michelman
                                 Scott Michelman (D.C. Bar No. 1006945)
                                 Arthur B. Spitzer (D.C. Bar No. 235960)
                                 Shana Knizhnik (D.C. Bar No. 1020840)
                                 American Civil Liberties Union Foundation
                                       of the District of Columbia
                                 915 15th Street NW, Second Floor
                                 Washington, D.C. 20005
                                 (202) 457-0800
                                 smichelman@acludc.org

July 18, 2018                    Counsel for Plaintiff




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